Case 1:17-cv-11008-MLW Document 260-2 Filed 05/10/18 Page 1 of 55




    JANSSEN EXHIBIT 2
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 2
                                                                1 of 55
                                                                     54




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS




JANSSEN BIOTECH, INC. and                 )
NEW YORK UNIVERSITY                       )
                     Plaintiffs,          )
                                          )
                  v.                      )                 Civil Action No. 1:15-cv-10698
                                          )
CELLTRION HEALTHCARE CO., LTD. ,          )                 CONTAINS INFORMATION
CELLTRION, INC., and                      )                 DESIGNATED BY
HOSPIRA, INC.                             )                 DEFENDANTS AS
                        Defendants.       )                 CONFIDENTIAL AND BY
_________________________________________ )                 HYCLONE AS OUTSIDE
                                                            COUNSEL’S EYES ONLY




     OPENING INFRINGEMENT EXPERT REPORT OF PROFESSOR MICHAEL
                           BUTLER, PH.D.

               I, Michael Butler, declare as follows:

I.     Qualifications

       1.      I am a Distinguished Professor in the Department of Microbiology at the

University of Manitoba in Winnipeg, Canada. My research focuses, among other things, on

bioprocess development (including the development of cell culture media) and the effect of cell

culture media on the metabolism of cells and the glycosylation of the proteins the cells produce.

I am also the director of MabNet (the Strategic Network for the Production of Single-type

Glycoform Monoclonal Antibodies), a collaboration among academics, industry, and

government in Canada focused on the development of monoclonal antibodies.

       2.      I have conducted research in the area of cell culturing and antibody production,

and the development of cell culture media, for over 35 years, beginning in the early 1980s. In
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 3
                                                                 2 of 55
                                                                      54



1980, I developed the first perfusion system to be used for the continuous culture of anchorage-

dependent cells on microcarriers, and was the first to publish on the perfusion culture of

mammalian cells. I was also the first to publish (in the early 1980s) on the inhibitory effects of

ammonia production in cell culture; this toxic metabolic by-product is now recognized as the

primary factor in limiting final cell yields in many processes.

       3.      In 2001, I founded a media development company called Biogro Technologies

Inc. The company is a spin-off of my research efforts and, under my direction, has

commercialized a number of serum-free media formulations for the growth of commercially

important mammalian cell lines. I am the CEO and major shareholder of Biogro.

       4.      In 2004, I was awarded the Synergy Award for innovation involving University-

Industry collaboration, on the basis of a 14-year technology transfer from my university to a

company called Cangene relating to a cell culture process for the production of recombinant

proteins.

       5.      Since the early 2000s, I have taught a course on industrial bioprocesses, teaching

students about all stages of the industrial scale production of biologics and biopharmaceuticals,

from cell line development through commercial production, including covering the development

of cell culture media.

       6.      I am an author on over 150 peer-reviewed publications. My publications span the

fields of cell culture processes, energy metabolism in cells, the effects of undefined components

of cell culture media, and the effects of cell culture media on glycosylation of biologically

produced proteins. My Hirsch Index, which is a measure of the impact of my publications, is 33.

       7.      I have also authored and edited a number of books on animal cell culture

technology, including editing the textbook Animal Cell Technology: From Biopharmaceuticals




                                                                                                     2
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 4
                                                                3 of 55
                                                                     54



to Gene Therapy, published in 2008. I was also an editor of The Encyclopedia of Cell

Technology, published in 2000.

       8.      I have been an editor of the journal Biotechnology Advances since 1999, and have

been on the editorial board of the journal Biotechnology and Engineering since 2003 and the

journal Open Biotechnology Journals since 2006.

       9.      I served as the President of the International Society for Protein Expression from

2011 to 2013. I served on the Executive Committee of the European Society for Animal Cell

Technology (ESACT) from 2009-2011.

       10.     Effective September 1, 2016, I will start a position as the Chief Scientific Officer

at the National Institute for Bioprocessing Research and Training (NIBRT) in Dublin, Ireland.

NIBRT is a world class center for training and research in biopharmaceutical manufacturing,

whose mission is to support the growth and development of all aspects of the biopharmaceutical

industry in Ireland by becoming a global leader in biopharmaceutical manufacturing research,

education, and training.

       11.     My qualifications are set forth in full in my curriculum vitae, which is attached as

Exhibit A.

II.    Summary of Opinion

       12.     I have been asked by counsel for Plaintiff Janssen Biotech, Inc. for my opinion

regarding whether two of Celltrion’s cell culture media formulations – which Celltrion uses in

the manufacture of its biosimilar of Remicade® – infringe claims 1 and 2 of U.S. Patent No.

7,598,083 (“the ’083 patent”) under the doctrine of equivalents.

       13.     I have reviewed the ’083 patent, the formulations of Celltrion’s cell culture media

powders, portions of Celltrion’s Biologics License Application (“BLA”), the Report of Dr.

Florian Wurm and Dr. Maria De Jesus dated April 13, 2016 (“The Lab Report”), and other


                                                                                                      3
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 5
                                                                 4 of 55
                                                                      54



materials. Based on this review, and my knowledge of and experience with cell culture media, it

is my opinion that Celltrion Growth Medium (HyClone Catalog No. SH3A2713, hereinafter

“CGM”) and Celltrion Production Medium (HyClone Catalog No. SH3A2800, hereinafter

“CPM”) (collectively, the “Celltrion Media”), custom made for Celltrion by HyClone

Laboratories, Inc., each infringe claims 1 and 2 of the ’083 patent under the doctrine of

equivalents.

III.   Background Information

       14.     Biologic medicines, or biologics, are complex biological molecules that are

produced in living organisms, such as cells, rather than chemically synthesized. Biologics like

Remicade®, as well as Celltrion’s and Hospira’s proposed biosimilar infliximab product, are

made from living cells in vitro (literally “in glass”, i.e., outside of a living organism). Because

the biologic manufacturing process is complex and uses living cells, the structural features of a

biologic drug can vary based on the precise manner in which the biologic is made.

       15.     To grow and maintain (“culture”) such living cells in vitro requires cell culture

media. An appropriate cell culture medium contains all the ingredients necessary to grow and

maintain the cells, as well as to allow them to produce the biological product of interest.

Without an appropriate cell culture medium, it is not possible to produce biologic medicines on a

clinically relevant scale or with the desired characteristics. As a result, the development of

appropriate cell culture media for a biopharmaceutical process is essential to bringing a biologic

or biosimilar to market.

       16.     If asked at trial, I may give a tutorial, with the assistance of visual aids, on cell

culture processes in biotechnology, the use of cell culture media in cell culture processes, cell

culture media generally, or any other matters discussed in this report.




                                                                                                       4
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 6
                                                                 5 of 55
                                                                      54



IV.    The ’083 Patent

       17.     The ’083 patent describes cell culture media formulations useful for the culture of

eukaryotic cells, particularly mammalian cells such as the myeloma-derived SP2/0 cells. (Col.

4:30 – col. 5:3.) One aspect of the ’083 patent relates to a soluble composition, typically a

powder, suitable for producing a cell culture medium. (Col. 5:4 – col. 6:4.) A liquid cell culture

medium is prepared from the soluble compositions of the invention by first dissolving them in

water. (Col. 7:37 – col. 8-21.)

       18.     The patent describes a soluble composition that includes 61 ingredients with

various ranges of concentration. (Col. 5:4 – col. 6:4.) This composition is also claimed in claim

1 of the patent:

               1.      A soluble composition, suitable for producing a final
               volume of cell culture media wherein the composition comprises
               the following components in the following amounts per liter of the
               final volume of cell culture media:
                       anhydrous CaCl2, 5-200 mg;
                       anhydrous MgCl2, 15-50 mg;
                       anhydrous MgSO4, 20-80 mg;
                       FeSO4•7H2O, 0.05-0.50 mg;
                       Fe(NO3)3•9H2O, 0.01-0.08 mg;
                       ZnSO4•7H2O, 0.40-1.20 mg;
                       ferric ammonium citrate, 0.04-200 mg;
                       KCl, 280-500 mg;
                       NaCl, 5000-7500 mg;
                       NaH2PO4•H2O, 30-100 mg;
                       Na2HPO4, 30-100 mg;
                       CuSO4•5H2O, 0.001-0.005 mg;
                       CoCl2•6H2O, 0.001-0.10 mg;
                       (NH4)6Mo7O24•4H2O, 0.001-0.005 mg;
                       MnSO4•H2O, 0.000070-0.0080 mg;
                       NiSO4•6H2O, 0.000025-0.0005 mg;
                       Na2SeO3, 0.004-0.07 mg;
                       Na2SiO3•9H2O, 0.02-0.4 mg;
                       SnCl2•2H2O, 0.000025-0.0005 mg;
                       NH4VO3, 0.0001-0.0025 mg;
                       D-Glucose, 500-8000 mg;
                       sodium pyruvate, 0.0-1000 mg;
                       sodium hypoxanthine, 0.0-20.0 mg;


                                                                                                 5
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 7
                                                                6 of 55
                                                                     54



                      glycine, 0.0-150 mg;
                      L-alanine, 0.0-150 mg;
                      L-arginine•HCl, 200-5000 mg;
                      L-asparagine•H2O, 40-250 mg;
                      L-aspartic acid, 20-1000 mg;
                      L-cysteine•HCl H2O, 25.0-250 mg;
                      L-cystine•HCl, 15-150 mg;
                      L-glutamic acid, 0-1000 mg;
                      L-histidine.•HCl•H2O, 100-500 mg;
                      L-isoleucine, 50-1000 mg;
                      L-leucine, 50-1000 mg;
                      L-lysine•HCl, 100-1000 mg;
                      L-methionine, 50-500 mg;
                      L-ornithine•HCl, 0-100 mg;
                      L-phenylalanine, 25-1000 mg;
                      L-proline, 0-1000 mg;
                      L-serine, 50-500 mg;
                      L-taurine, 0-1000 mg;
                      L-threonine, 50-600 mg;
                      L-tryptophan, 2-500 mg;
                      L-tyrosine•2Na•2H2O, 25-250 mg;
                      L-valine, 100-1000 mg;
                      d-biotin, 0.04-1.0 mg;
                      D-calcium pantothenate, 0.1-5.0 mg;
                      choline chloride, 1-100 mg;
                      folic acid, 1-10 mg;
                      i-Inositol, 10-1000 mg;
                      nicotinamide, 0.5-30 mg;
                      p-aminobenzoic acid, 0.1-20 mg;
                      riboflavin, 0.05-5.0 mg;
                      thiamine•HCl, 0.5-20 mg;
                      thymidine, 0-3.0 mg;
                      vitamin B12, 0.05-5.0 mg;
                      linoleic acid, 0.01-2.0 mg;
                      DL-α-lipoic acid, 0.03-1.0 mg;
                      pyridoxine•HCl, 0.5-30 mg;
                      putrescine•2HCl, 0.025-0.25 mg; and
                      ethanolamine•HCl, 2-100 mg

       19.     Of the 61 ingredients recited in claim 1, nine (sodium pyruvate, sodium

hypoxanthine, glycine, L-alanine, L-glutamic acid, L-ornithine•HCl, L-proline, L-taurine, and

thymidine) have concentration ranges with a lower limit of zero. As a result, a cell culture media

formulation can omit one or more of these ingredients and still meet all the limitations of claim



                                                                                                    6
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 8
                                                                7 of 55
                                                                     54



1. For purposes of my infringement analysis, therefore, I will refer to the the nine ingredients

whose concentration ranges include zero as “optional” ingredients. The remaining 52

ingredients are required.

       20.     Claim 2 of the patent claims the soluble composition of claim 1 “further

comprising a buffering molecule with a pKa between 5.9 and 7.8 and a cell protectant.”

V.     The Celltrion Media

       21.     I have reviewed the following portions of Celltrion’s BLA:




       22.     I have also reviewed the formulations of CGM and CPM as set forth in the

documents HyClone provided to Janssen in discovery. The formulations are respectively called

“HyQ ADCF Mab – Growth (HyClone Catalog # SH3A2713)” and “HyQ ADCF Mab New

Production (HyClone Catalog #SH3A2800)” on the HyClone documents.

       23.     CGM and CPM each contain the same set of 91 ingredients. In CPM, the

concentration of each of the ingredients (with the exception of NaCl) is approximately 15% more

concentrated than in CGM. The concentration of NaCl is lower in CPM by approximately the

same percentage.


                                                                                                   7
        Case 1:17-cv-11008-MLW Document 260-2
                                        221-3 Filed 05/10/18
                                                    04/03/18 Page 9
                                                                  8 of 55
                                                                       54



VI.     Legal Standards

        A.     Infringement

        24.    I am informed that there are two ways an accused product can infringe a patent:

(1) the accused product can literally infringe the patent, or (2) the accused product can infringe

the patent under the doctrine of equivalents. I understand that an accused product literally

infringes a patent if every limitation set forth in a claim is found in the accused product, exactly.

        25.    I am also informed that an accused product infringes under the doctrine of

equivalents if it contains an equivalent to every claimed element that is not literally met.

        26.    I am informed that one approach to determining whether an accused product

contains an element that is equivalent to a claimed element is to analyze whether the differences

between the element in the accused product and the claimed element are insubstantial (the

“insubstantial differences” test). If the differences are insubstantial, then the element in the

accused product is the equivalent of the claimed element and meets that limitation under the

doctrine of equivalents.

        27.    I am informed that another approach to determining whether an accused product

contains an element that is equivalent to a claimed element is to analyze whether that element of

the accused product performs substantially the same function in substantially the same way with

substantially the same result as does an element in the claim. If it does, then the element of the

accused product is the equivalent of the claimed element and meets that limitation under the

doctrine of equivalents. I am informed that this is sometimes called the “function-way-result”

test.

        28.    I am informed that another approach to determining whether an accused product

contains an element that is equivalent to a claimed element is to analyze whether the accused

product contains an element that a person of ordinary skill in the art knows to be interchangeable


                                                                                                     8
       Case
       Case1:17-cv-11008-MLW
            1:17-cv-11008-MLW Document
                              Document260-2
                                       221-3 Filed
                                             Filed05/10/18
                                                   04/03/18 Page
                                                            Page10
                                                                 9 of
                                                                   of54
                                                                      55



with an element of the claim. If so, then the element in the accused product is the equivalent of

the claimed element and meets that limitation under the doctrine of equivalents. I am informed

that this is sometimes called the “known interchangeability” test.

        29.    I am also informed that an accused product can infringe under the doctrine of

equivalents even if the accused product requires two or more components to perform functions

achieved by one component in the patented invention.

        30.    I am informed that the determination of equivalence is an objective inquiry

conducted on an element-by-element basis. The analysis proceeds by comparing each claim

element to the corresponding element (or elements) of the accused product. If each element is

present exactly, or its equivalent is present, then the accused product infringes.

        B.     Claim Construction

        31.    I am informed that the Court has construed the term “cell culture media” in claims

1 and 2 of the ’083 patent to mean “a nutritive media for culturing cells.” That construction is

consistent with my understanding of the term. In any event, I am informed that I am required to

apply that construction to my infringement analysis.

VII.    Infringement Analysis

        32.    I have compared CGM and CPM to claims 1 and 2 of the ’083 patent. I conclude

that each medium meets all the elements of claims 1 and 2 of the patent, either literally or under

the doctrine of equivalents, and therefore CGM and CPM each infringe claims 1 and 2 under the

doctrine of equivalents.

        33.    Claim 1 recites 61 ingredients, each with a concentration range. For purposes of

my analysis, I divide this portion of the claim into 61 ingredient elements and 61 concentration

elements.




                                                                                                     9
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 11
                                                                10 of 55
                                                                      54



        34.     Claim 2 is dependent on claim 1, meaning that it contains all the limitations of

claim 1 plus 2 additional ones. Because claim 2 encompasses claim 1 and the additional

elements of claim 2 are literally present in CGM and CPM, my analysis focuses primarily on

claim 1.

        A.      Elements of Claim 1 That Are Literally Met

        35.     As discussed above, claim 1 covers a “soluble composition, suitable for producing

a final volume of cell culture media.” CGM and CPM are soluble compositions, specifically

powders. (CELLREM-0007989, CELLREM-0007996.) CGM and CPM are suitable for

producing a final volume of cell culture media (as that term has been construed by the Court).

Celltrion uses them for that purpose. (CELLREM-0061063–64). Accordingly, this element of

the claim is literally met.

        36.     Claim 1 states that “the composition comprises the following components in the

following amounts per liter of the final volume of cell culture media.” The components and

amounts are the 61 ingredients and concentration ranges noted above (and also discussed below).

I am informed that the phrase “comprises” means “including but not limited to,” and therefore

that CGM and CPM infringe this claim if they contain all the claimed ingredients and ranges,

literally or under the doctrine of equivalents. The presence or absence of additional, unclaimed

ingredients is irrelevant to the infringement analysis.

        37.     Of the 61 ingredients recited in the claim, the Celltrion Media each include every

one of the 52 required ingredients, and 7 of the 9 optional ingredients (i.e., the ingredients with a

concentration range that includes zero). Thus, CGM and CPM each literally meet every one of

the ingredient elements of the claim.

        38.     Claim 1 of the ’083 patent also recites various concentration ranges for each of

the recited ingredients. As shown in Table 1 below, of the 61 recited concentration ranges, CGM


                                                                                                   10
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 12
                                                                 11 of 55
                                                                       54



literally meets 48 of them and CPM literally meets 49 of them. In other words, of the 122 claim

elements, only 12 or 13 elements are not literally met by CPM and CGM, respectively, and they

are concentration elements, not ingredient elements.

        Table 1. A Comparison of Claim 1 to CGM and CPM (Gray Cells Literally Met)

              ’083 Patent Claim 1                         CGM              CPM          Ingredient
                                                                                        Limitation
                                                                                          Met?

       Ingredient           Amount (per liter)         Amount (per     Amount (per
                                                         liter)          liter)

anhydrous CaCl2           5-200 mg                                                      Yes

anhydrous MgCl2           15-50 mg                                                      Yes

anhydrous MgSO4           20-80 mg                                                      Yes

FeSO4•7H2O                0.05-0.50 mg                                                  Yes

Fe(NO3)3•9H2O             0.01-0.08 mg                                                  Yes

ZnSO4•7H2O                0.40-1.20 mg                                                  Yes

ferric ammonium           0.04-200 mg                                                   Yes
citrate

KCl                       280-500 mg                                                    Yes

NaCl                      5000-7500 mg                                                  Yes

NaH2PO4•H2O               30-100 mg                                                     Yes

Na2HPO4                   30-100 mg                                                     Yes

CuSO4•5H2O                0.001-0.005 mg                                                Yes


CoCl2•6H2O                0.001-0.10 mg                                                 Yes

(NH4)6Mo7O24•4H2O         0.001-0.005 mg                                                Yes

MnSO4•H2O                 0.000070-0.0080 mg                                            Yes




                                                                                              11
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 13
                                                                12 of 55
                                                                      54



               ’083 Patent Claim 1                 CGM           CPM        Ingredient
                                                                            Limitation
                                                                              Met?

      Ingredient           Amount (per liter)   Amount (per   Amount (per
                                                  liter)        liter)

NiSO4•6H2O               0.000025-0.0005 mg                                 Yes


Na2SeO3                  0.004-0.07 mg                                      Yes

Na2SiO3•9H2O             0.02-0.4 mg                                        Yes

SnCl2•2H2O               0.000025-0.0005 mg                                 Yes

NH4VO3                   0.0001-0.0025 mg                                   Yes

D-Glucose                500-8000 mg                                        Yes

sodium pyruvate          0.0-1000 mg                                        Yes

sodium hypoxanthine      0.0-20.0 mg                                        Yes

Glycine                  0.0-150 mg                                         Yes

L-alanine                0.0-150 mg                                         Yes

L-arginine•HCl           200-5000 mg                                        Yes

L-asparagine•H2O         40-250 mg                                          Yes

L-aspartic acid          20-1000 mg                                         Yes

L-cysteine•HCl H2O       25.0-250 mg                                        Yes

L-cystine•2HCl           15-150 mg                                          Yes

L-glutamic acid          0-1000 mg                                          Yes

L-histidine•HCl•H2O      100-500 mg                                         Yes

L-isoleucine             50-1000 mg                                         Yes

L-leucine                50-1000 mg                                         Yes

L-lysine•HCl             100-1000 mg                                        Yes




                                                                                  12
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 14
                                                                13 of 55
                                                                      54



               ’083 Patent Claim 1                 CGM           CPM        Ingredient
                                                                            Limitation
                                                                              Met?

      Ingredient           Amount (per liter)   Amount (per   Amount (per
                                                  liter)        liter)

L-methionine             50-500 mg                                          Yes

L-ornithine•HCl          0-100 mg                                           Yes

L-phenylalanine          25-1000 mg                                         Yes

L-proline                0-1000 mg                                          Yes

L-serine                 50-500 mg                                          Yes

L-taurine                0-1000 mg                                          Yes

L-threonine              50-600 mg                                          Yes

L-tryptophan             2-500 mg                                           Yes

L-tyrosine•2Na•2H2O      25-250 mg                                          Yes

L-valine                 100-1000 mg                                        Yes

d-biotin                 0.04-1.0 mg                                        Yes

D-calcium                0.1-5.0 mg                                         Yes
pantothenate

choline chloride         1-100 mg                                           Yes

folic acid               1-10 mg                                            Yes

i-Inositol               10-1000 mg                                         Yes

nicotinamide             0.5-30 mg                                          Yes

p-aminobenzoic acid      0.1-20 mg                                          Yes

riboflavin               0.05-5.0 mg                                        Yes

thiamine•HCl             0.5-20 mg                                          Yes

thymidine                0-3.0 mg                                           Yes




                                                                                  13
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 15
                                                                 14 of 55
                                                                       54



                 ’083 Patent Claim 1                         CGM                CPM          Ingredient
                                                                                             Limitation
                                                                                               Met?

       Ingredient              Amount (per liter)        Amount (per        Amount (per
                                                           liter)             liter)

vitamin B12                  0.05-5.0 mg                                                     Yes

linoleic acid                0.01-2.0 mg                                                     Yes

DL-α-lipoic acid             0.03-1.0 mg                                                     Yes

pyridoxine•HCl               0.5-30 mg                                                       Yes

putrescine•2HCl              0.025-0.25 mg                                                   Yes

ethanolamine•HCl             2-100 mg                                                        Yes




        B.        Analysis of Equivalence

        39.       As Table 1 shows, the only elements of claim 1 that are not literally met by the

Celltrion Media are a handful of concentration ranges. These elements are shown in Table 2.

                Table 2. Literal Differences Between Claim 1 and the Celltrion Media

                ’083 Patent Claim 1                        CGM                      CPM

       Ingredient            Amount (per liter)     Amount (per liter)       Amount (per liter)

NaCl                         5000-7500 mg           Literally within       4556.83 mg
                                                    range

NaH2PO4•H2O                  30-100 mg              227.17 mg              262.97 mg

Na2HPO4                      30-100 mg              374.15 mg              432.64 mg

CuSO4•5H2O                   0.001-0.005 mg         0.000536727 mg         0.00062087 mg

CoCl2•6H2O                   0.001-0.10 mg          0.000369 mg            0.00043 mg




                                                                                                     14
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 16
                                                                15 of 55
                                                                      54



              ’083 Patent Claim 1                              CGM                         CPM

       Ingredient             Amount (per liter)       Amount (per liter)          Amount (per liter)

(NH4)6Mo7O24•4H2O             0.001-0.005 mg           0.000964 mg1              Literally within range

NiSO4•6H2O                   0.000025-0.0005           0.00094471 mg             0.00109275 mg
                             mg

SnCl2•2H2O                   0.000025-0.0005           0.000008 mg               0.00001 mg
                             mg

NH4VO3                        0.0001-0.0025 mg         0.000046 mg               0.00005 mg

L-arginine•HCl                200-5000 mg              63.34 mg                  73.27 mg

L-asparagine•H2O              40-250 mg                3.22 mg                   3.72 mg

L-histidine•HCl•H2O           100-500 mg               13.52 mg                  15.64 mg

L-methionine                  50-500 mg                37.57 mg                  43.43 mg

L-valine                      100-1000 mg              90.56 mg                  Literally within range


        40.      Reviewing each of these individual differences in concentration in the context of

this claim, on an element-by-element basis, it is my opinion that each of the literal differences

between the Celltrion Media and claimed range is insubstantial. Furthermore, the ingredients in

the Celltrion Media perform substantially the same if not the identical function in substantially

the same if not the identical way as the corresponding ingredients in the claim, and

experimentation shows that they achieve substantially similar results.

        41.      The ingredients whose concentration ranges are not literally met can be divided

into four general categories: (1) trace elements-containing ingredients, (2) amino acid-containing

ingredients, (3) phosphate-containing ingredients, and (4) sodium chloride.


1
  The concentration of (NH4)6Mo7O24•4H2O in CGM is within rounding error of the claimed range. If
this concentration element is not considered to be literally met, it is clearly so close to the claimed range
as to be equivalent.


                                                                                                           15
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 17
                                                                16 of 55
                                                                      54



               1.      Trace Element-Containing Ingredients

       42.     Trace elements are inorganic chemical elements that may be used in very small

(“trace”) amounts in biological processes. Trace element-containing ingredients are often added

to cell culture media, though which particular trace elements are included varies widely.2

Generally speaking, the precise concentrations of the trace element-containing ingredients are

not critical. What is important is that there be a sufficient amount present to fulfill the biological

function of the element, and that the ingredient be present in trace amounts (and that the

concentration not be so high as to be toxic to the cells).

       43.     Claim 1 of the ’083 patent recites 12 ingredients in trace quantities:

FeSO4•7H2O (iron(II) sulfate heptahydrate), Fe(NO3)3•9H2O (iron(III) nitrate nonahydrate),

ZnSO4•7H2O (zinc sulfate heptahydrate), CuSO4•5H2O (copper(II) sulfate pentahydrate),

CoCl2•6H2O (cobalt(II) chloride hexahydrate), (NH4)6Mo7O24•4H2O (ammonium

heptamolybdate tetrahydrate), MnSO4•H2O (manganese sulfate monohydrate), NiSO4•6H2O

(nickel sulfate hexahydrate), Na2SeO3 (sodium selenite), Na2SiO3•9H2O (sodium metasilicate

nonahydrate), SnCl2•2H2O (tin(II) chloride dihydrate), and NH4VO3 (ammonium

metavanadate). The Celltrion Media contain each and every one of these trace element-

containing compounds, in the same form as claimed.

       44.     Some of these trace element-containing ingredients are present in the Celltrion

Media in concentrations that are literally outside the claimed ranges. Table 3 sets forth the

concentrations of CoCl2•6H2O, NiSO4•6H2O, SnCl2•2H2O, NH4VO3, and CuSO4•5H2O in

the Celltrion Media compared to the claimed ranges. The claimed concentrations are very low,


2
 See W.L. Cleveland, I. Wood, & B. F. Erlanger, “Routine large-scale production of monoclonal
antibodies in a protein-free culture medium,” 56 J. Immunol. Methods 221, 232 (1983). See also A.
Burgener, and M. Butler, “Medium development,” in Cell culture technology for pharmaceutical and
cell-based therapies, 52 (S. S. Ozturk, and W.-S. Hu eds., 2005).


                                                                                                    16
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 18
                                                                17 of 55
                                                                      54



essentially trace (on the order of nanograms or micrograms of material per liter of medium). The

Celltrion Media each contain these ingredients, in concentrations at the same order of magnitude

as the claims (nanograms or micrograms of material per liter). While the amounts of the

ingredients in the Celltrion Media literally fall outside the claimed concentration range, from a

practical perspective they are close to the claimed range. In light of my knowledge and

experience and the experiments of Drs. Wurm and DeJesus discussed below, it is my opinion

that these differences are insubstantial.

    Table 3. Literal Differences in Concentrations of Trace Element-Containing Ingredients

              ’083 Patent Claim 1                          CGM                       CPM

      Ingredient             Amount (per liter)     Amount (per liter)        Amount (per liter)

CoCl2•6H2O                  0.001-0.10 mg           0.000369 mg            0.00043 mg

NiSO4•6H2O                  0.000025-0.0005 mg      0.00094471 mg          0.00109275 mg

SnCl2•2H2O                  0.000025-0.0005 mg      0.000008 mg            0.00001 mg

NH4VO3                      0.0001-0.0025 mg        0.000046 mg            0.00005 mg

CuSO4•5H2O                  0.001-0.005 mg          0.000536727 mg         0.00062087 mg



                       a.      CoCl2•6H2O

       45.     Claim 1 requires between 0.001-0.10 mg/L of CoCl2•6H2O, while CGM contains

0.000369 mg/L and CPM contains 0.00043 mg/L. Both the claimed amount and the amounts in

the Celltrion Media are very small, trace amounts of the CoCl2•6H2O ingredient.

       46.     The function the CoCl2•6H2O ingredient performs in the context of claim 1 is to

provide a trace amount of free cobalt in its +2 oxidation state (i.e., cobalt(II)). Trace amounts of

cobalt are thought to play a role not only as a cofactor in certain vitamin-B12-dependent enzymes,




                                                                                                    17
         Case 1:17-cv-11008-MLW Document 260-2
                                         221-3 Filed 05/10/18
                                                     04/03/18 Page 19
                                                                   18 of 55
                                                                         54



but also as a cofactor in other enzymes in mammalian cells (e.g., methionine aminopeptidase).3

In my opinion, the differences in the concentration between the CoCl2•6H2O in the Celltrion

Media and in claim 1 are insubstantial. Furthermore, CoCl2•6H2O in the Celltrion Media

performs substantially the same function in substantially the same way as CoCl2•6H2O in claim

1. This is because the ingredient in the Celltrion Media is identical to the claimed ingredient and

the concentrations in the Celltrion Media are close to the claimed concentration range. I would

expect, subject to experimentation, that mammalian cells would perform similarly in the

Celltrion Media as in media that were otherwise identical but had CoCl2•6H2O within the

claimed concentration range.

          47.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the CoCl2•6H2O ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the CoCl2•6H2O amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same results as the claimed amount of CoCl2•6H2O.

                          b.      NiSO4•6H2O

          48.     Claim 1 requires between 0.000025-0.0005 mg/L of NiSO4•6H2O, while CGM

contains 0.00094471 mg/L and CPM contains 0.00109275 mg/L. Both the claimed amount and

the amounts in the Celltrion Media are all relatively low, trace amounts of the NiSO4•6H2O

ingredient.

          49.     The function of the NiSO4•6H2O ingredient at the claimed concentration in the

context of claim 1 is to provide a trace amount of nickel in its +2 oxidation state (i.e., nickel(II)).

Trace amounts of nickel are thought to play a role as a cofactor for enzymes in mammalian


3
    Kobayashi, M. and Shimizu, S., “Cobalt proteins,” Eur. J. Biochem. 1 (1), 1-9 (1999).


                                                                                                     18
        Case 1:17-cv-11008-MLW Document 260-2
                                        221-3 Filed 05/10/18
                                                    04/03/18 Page 20
                                                                  19 of 55
                                                                        54



cells.4 In my opinion, the differences in concentration between the NiSO4•6H2O in the Celltrion

Media and in claim 1 are insubstantial. Furthermore, NiSO4•6H2O in the amounts in the

Celltrion Media perform substantially the same function in substantially the same way as

NiSO4•6H2O in the claimed amount. This is because the ingredient in the Celltrion Media is

identical to the claimed ingredient and the concentrations in the Celltrion Media are close to the

claimed concentration range. I would expect, subject to experimentation, that mammalian cells

would perform similarly in the Celltrion Media as in media that were otherwise identical but had

NiSO4•6H2O within the claimed concentration range.

          50.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the NiSO4•6H2O ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the NiSO4•6H2O amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same results as the claimed amount of

NiSO4•6H2O.

                         c.      SnCl2•2H2O

          51.     Claim 1 requires between 0.000025-0.0005 mg/L of SnCl2•2H2O, while CGM

contains 0.0000079 mg/L and CPM contains 0.0000092 mg/L. Both the claimed amount and the

amounts in the Celltrion Media are very small, trace amounts of SnCl2•2H2O.

          52.     The function the SnCl2•2H2O ingredient at the claimed concentration in the

context of claim 1 is to provide a trace amount of tin in its +2 oxidation state (i.e., tin(II), or

stannous tin). Trace amounts of tin are thought to play a role in biological activity that may

support cell growth. In my opinion, the differences in the concentration between the


4
    Ragsdale, S.W., “Nickel based enzyme systems,” J. Biological Chemistry, 284, 18571-18575 (2009).


                                                                                                       19
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 21
                                                                20 of 55
                                                                      54



SnCl2•2H2O in the Celltrion Media and in claim 1 are insubstantial. Furthermore, SnCl2•2H2O

in the amounts in the Celltrion Media perform substantially the same function in substantially the

same way as SnCl2•2H2O in the claimed amount. This is because the ingredient in the Celltrion

Media is identical to the claimed ingredient and the concentrations in the Celltrion Media are

close to the claimed concentration range. I would expect, subject to experimentation, that

mammalian cells would perform similarly in the Celltrion Media as in media that were otherwise

identical but had SnCl2•2H2O within the claimed concentration range.

        53.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the SnCl2•2H2O ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the SnCl2•2H2O amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same results as the claimed amount of SnCl2•2H2O.

                        d.      NH4VO3

        54.     Claim 1 also requires between 0.0001-0.0025 mg/L of NH4VO3, while CGM

contains 0.000046 mg/L and CPM contains 0.0000532 mg/L. Both the claimed amount and the

amounts in the Celltrion Media are all relatively low, trace amounts of the NH4VO3.

        55.     The function the NH4VO3 ingredient at the claimed concentration performs in the

context of claim 1 is to provide a trace amount of vanadium in its +5 oxidation state (i.e.,

vanadium(V)). Trace amounts of vanadium are thought to play a role in enzyme activity

mammalian cells that may support cell growth in culture; for example, it is reported to have an

insulin-mimetic effect.5 In my opinion, the differences in the concentration between the

NH4VO3 in the Celltrion Media and in claim 1 are insubstantial. Furthermore, NH4VO3 in the
5
  Bhattacharyya, S., Tracey, A.S., “Vanadium(V) complexes in enzyme systems – aqueous chemistry,
inhibition and molecular modeling in inhibitor design,” Journal of Inorganic Biochemistry 85, 1, 9-13
(2001).


                                                                                                        20
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 22
                                                                21 of 55
                                                                      54



amounts in the Celltrion Media perform substantially the same function in substantially the same

way as NH4VO3 in the claimed amount. This is because the ingredient in the Celltrion Media is

identical to the claimed ingredient and the concentrations in the Celltrion Media are close to the

claimed concentration range. I would expect, subject to experimentation, that mammalian cells

would perform similarly in the Celltrion Media as in media that were otherwise identical but had

NH4VO3 within the claimed concentration range.

       56.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the NH4VO3 ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the NH4VO3 amounts in the Celltrion Media

perform substantially the same (if not the identical) function in substantially the same (if not the

identical) way with substantially the same results as the claimed amount of NH4VO3.

                       e.      CuSO4•5H2O

       57.     Claim 1 requires between 0.001-0.005 mg of CuSO4•5H2O, while CGM contains

0.000536727 mg/L and CPM contains 0.00062087 mg/L. Both the claimed amount and the

amounts in the Celltrion Media are all relatively low, trace amounts of the CuSO4•5H2O

ingredient.

       58.     The function the CuSO4•5H2O ingredient performs in the context of claim 1 is to

provide a trace amount of free copper in its +2 oxidation state (i.e., copper(II), or cupric copper)

for the cells in culture. In cell culture media, copper(II) is a cofactor for enzymes in mammalian

cells that may support cell growth in culture. Additionally, it has recently been discovered that

the copper(II) plays a role in the regulation of cellular metabolism, at least in CHO cells.6 In my

opinion, the differences in the concentration between the CuSO4•5H2O in the Celltrion Media

6
 E.g., S. Nargund et al., “Elucidating the Role of Copper in CHO Cell Energy Metabolism Using 13C
Metabolic Flux Analysis,” Biotechnol. Prog., Vol. 31:5, 1179-86 (2015).


                                                                                                    21
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 23
                                                                22 of 55
                                                                      54



and in claim 1 are not substantial. Furthermore, CuSO4•5H2O in the amounts in the Celltrion

Media perform substantially the same function in substantially the same way as CuSO4•5H2O in

the claimed amount. This is because the ingredient in the Celltrion Media is identical to the

claimed ingredient and the concentrations in the Celltrion Media are close to the claimed

concentration range.

       59.     In addition to CuSO4•5H2O, the Celltrion Media contain another source of

copper(II), CuCl2•2H2O. At the concentrations of these ingredients in the Celltrion Media, both

of these ingredients are completely soluble in water. Upon dissolution in water, the copper(II)

ions separate (i.e., dissociate) from the sulfate and chloride ions. Whether the source of

copper(II) in the media is a sulfate salt (as in the claim), or a mixture of chloride and sulfate salts

(as in the Celltrion Media), in solution cells will encounter free copper(II).

       60.     Adding together the CuSO4•5H2O and CuCl2•2H2O in the Celltrion Media, the

total concentration of the active component (copper (II)) supplied by the Celltrion Media is

within the range of that total concentration of copper (II) supplied by claim 1 of the ‘083 patent.

To compute the total amounts of the copper(II) supplied by each of the ingredients, I have to

convert the weights of each ingredient to molar amounts (a representation of the number of

molecules of the ingredient). To do that, I divide the actual weight by the molecular weight.

Thus, to calculate the total amount of copper(II) supplied by 0.001 mg of CuSO4•5H2O, I divide

0.001 mg by the molecular weight (MW) of CuSO4•5H2O (249.69 mg/mmol), yielding

0.000004005 mmol (millimoles), or 4.005 nmol (nanomoles). A comparison of the total molar

amount of copper(II) supplied by CuSO4•5H2O and CuCl2•2H2O in the Celltrion Media with

the range of total amounts supplied by the claimed ingredient (CuSO4•5H2O) is shown in Table

4 below.




                                                                                                    22
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 24
                                                                23 of 55
                                                                      54



 Table 4. A Comparison of the Total Molar Amounts of Copper(II) Supplied by CuSO4•5H2O
                      and CuCl2•2H2O in Claim 1, CGM, and CPM

             ’083 Patent Claim 1                       CGM                       CPM

    Ingredient          Amount (per liter)      Amount (per liter)        Amount (per liter)

CuSO4•5H2O             0.001-0.005 mg           0.000536727 mg         0.00062087 mg
(MW: 249.69            (4.005-20.025 nmol)      (2.150 nmol)           (2.487 nmol)
mg/mmol)

CuCl2•2H2O             N/A                      0.0017819291 mg        0.002059329 mg
(MW: 170.48                                     (10.452 nmol)          (12.080 nmol)
mg/mmol)

Total Copper(II)       4.005-20.025 nmol        12.602 nmol            14.567 nmol



       61.     As shown in Table 4, the total molar amounts of copper(II) supplied by

CuSO4•5H2O and CuCl2•2H2O in the Celltrion Media fall within the range of molar amounts of

copper(II) supplied by the claimed amount of CuSO4•5H2O. This further confirms that the

literal differences between the CuSO4•5H2O amounts in the Celltrion Media and the claimed

CuSO4•5H2O amount are insubstantial. I would expect, subject to experimentation, that

mammalian cells would perform similarly in the Celltrion Media as in media in which the same

total concentration of copper (II) was supplied by an amount of CuSO4•5H2O within the

claimed concentration range.

       62.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the CuSO4•5H2O ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the CuSO4•5H2O amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same results as in media in which copper(II) is

supplied by the claimed amount of CuSO4•5H2O.



                                                                                                 23
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 25
                                                                24 of 55
                                                                      54



                2.      Amino Acid-Containing Ingredients

        63.     Amino acids are small organic molecules containing both an amino group and a

carboxyl group. They are biological building blocks. Cells use amino acids to build new

proteins – not only the proteins they use to survive, function, and multiply, but also any proteins

(e.g., biopharmaceutical antibodies) they are engineered to produce.7 In addition, cells use

amino acids to generate the energy needed to survive, grow, and produce proteins.

        64.     Claim 1 of the ’083 patent recites 22 amino acids in various concentration ranges.

The Celltrion Media each contain all 22 claimed amino acids, in the same form as claimed.

        65.     Some of the amino acid-containing ingredients are present in the Celltrion Media

in amounts outside the literal claimed range. Table 5 sets forth the concentrations of L-

methionine, L-valine, L-histidine•HCl•H2O, L-arginine•HCl, and L-asparagine•H2O. Moreover,

for L-arginine•HCl, L-asparagine•H2O, and L-histidine•HCl•H2O, the Celltrion Media also

contain alternative sources of the same amino acids. As explained below, based on my

knowledge and experience and the experiments of Drs. Wurm and De Jesus, each of the literal

differences in concentration between the amino-acid ingredients and in the Celltrion Media and

in claim 1 is insubstantial.

                 Table 5. Literal Differences in Concentrations of L-methionine,
              L-valine, L-histidine•HCl•H2O, L-arginine•HCl, and L-asparagine•H2O

              ’083 Patent Claim 1                         CGM                      CPM

      Ingredient               Amount (per liter)   Amount (per liter)      Amount (per liter)

L-methionine                   50-500 mg            37.57 mg               43.43 mg

L-valine                       100-1000 mg          90.56 mg               Literally within range



7
 See Bettelheim, Brown, and March, Introduction to General, Organic, and Biochemistry 679-86 (7th ed.
2004).


                                                                                                    24
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 26
                                                                25 of 55
                                                                      54



L-histidine•HCl•H2O         100-500 mg            13.52 mg                15.64 mg

L-arginine•HCl              200-5000 mg           63.34 mg                73.27 mg

L-asparagine•H2O            40-250 mg             3.22 mg                 3.72 mg



                       a.      L-methionine

       66.     Claim 1 requires between 50-500 mg/L of L-methionine. CGM contains 37.57

mg/L of L-methionine and CPM contains 43.43 mg/L of L-methionine.

       67.     The function the L-methionine ingredient performs in the context of claim 1 is to

provide an amount of the amino acid L-methionine for the cells in culture, which they use to

make proteins. In my opinion, the differences in the concentration between the L-methionine in

the Celltrion Media and in claim 1 are insubstantial. Furthermore, L-methionine in the amounts

in the Celltrion Media performs substantially the same function in substantially the same way as

L-methionine in the claimed amount. This is because the ingredient in the Celltrion Media is

identical to the claimed ingredient, and the literal differences in concentration are small. I would

expect, subject to experimentation, that mammalian cells would perform similarly in the

Celltrion Media as in media that were otherwise identical but had L-methionine within the

claimed concentration range.

       68.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the L-methionine ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the L-methionine amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same results as the claimed amount of L-methionine.




                                                                                                 25
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 27
                                                                26 of 55
                                                                      54



                       b.      L-Valine

       69.     Claim 1 requires between 100-1000 mg/L of L-valine, while CGM contains 90.56

mg/L of L-valine. The L-valine concentration element is literally met in CPM.

       70.     The function the L-valine ingredient performs in the context of claim 1 is to

provide an amount of the amino acid L-valine for the cells in culture, which they use to make

proteins. In my opinion, the difference in the concentration between the L-valine in CGM and in

claim 1 is insubstantial. Furthermore, L-valine in the concentration in CGM performs

substantially the same function in substantially the same way as L-valine in the claimed amount.

This is because the ingredient in the CGM is identical to the claimed ingredient, and the literal

difference in concentration is small. I would expect, subject to experimentation, that mammalian

cells would perform similarly in CGM as in a medium that was otherwise identical but had L-

valine within the claimed concentration range.

       71.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the difference in amount of the L-valine ingredient in CGM compared to the claim

is insubstantial, and that the L-valine amount in CGM performs substantially the same (if not the

identical) function in substantially the same (if not the identical) way with substantially the same

result as the claimed amount of L-valine.

                       c.      L-histidine•HCl•H2O

       72.     Claim 1 requires between 100-500 mg/L of L-histidine•HCl•H2O. CGM contains

13.52 mg/L of L-histidine•HCl•H2O and CPM contains 15.64 mg/L of L-histidine•HCl•H2O.

       73.     In addition to L-histidine•HCl•H2O, CGM and CPM also contain L-histidine free

base. This ingredient provides the same active component (L-histidine) as L-histidine•HCl•H2O.

When both sources of L-histidine are considered, the total molar concentrations of L-histidine in

the Celltrion Media are about 30-40% below the total molar concentration of L-histidine called


                                                                                                    26
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 28
                                                                27 of 55
                                                                      54



for by claim 1 of the ’083 patent. A comparison of the total molar amount of L-histidine

supplied by L-histidine•HCl•H2O and L-histidine free base in the Celltrion Media with the range

of total amounts supplied by the claimed ingredient (L-histidine•HCl•H2O) is shown in Table 6

below.

         Table 6. A Comparison of the Total Molar Amounts of L-Histidine Supplied by L-
            histidine•HCl•H2O and L-histidine Free Base in Claim 1, CGM, and CPM

               ’083 Patent Claim 1                        CGM                       CPM

      Ingredient             Amount (per liter)    Amount (per liter)       Amount (per liter)

L-histidine•HCl•H2O          100-500 mg           13.52 mg                 15.64 mg
(MW: 209.63                 (0.477-2.385 mmol)    (0.064 mmol)             (0.075 mmol)
mg/mmol)

L-histidine                  N/A                  34.49 mg                 39.90 mg
(MW:155.12                                        (0.222 mmol)             (0.257 mmol)
mg/mmol)

Total histidine              0.477-2.385 mmol     0.286 mmol               0.332 mmol



         74.      The function the L-histidine•HCl•H2O ingredient performs in the context of claim

1 is to provide an amount of the amino acid L-histidine for the cells in culture, which they use to

make proteins. In my opinion, the differences in the concentration between the L-

histidine•HCl•H2O in the Celltrion Media and in claim 1 are insubstantial. Furthermore, L-

histidine•HCl•H2O in the amounts in the Celltrion Media performs substantially the same

function in substantially the same way as L-histidine•HCl•H2O in the claimed amount. This is

because the ingredient in the Celltrion Media is identical to the claimed ingredient, and the literal

differences in concentration are small. Furthermore, the impact of the literal differences on the

total molar concentration of L-histidine are reduced by the addition of L-histidine freebase. I

would expect, subject to experimentation, that mammalian cells would perform similarly in the



                                                                                                  27
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 29
                                                                28 of 55
                                                                      54



Celltrion Media as in media that had L-histidine•HCl•H2O within the claimed concentration

range.

         75.   As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in the amounts of L-histidine•HCl•H2O in the Celltrion Media

compared to the claim are insubstantial, and that L-histidine•HCl•H2O in the amounts in the

Celltrion Media performs substantially the same (if not the identical) function in substantially the

same (if not the identical) way with substantially the same results as in media in which L-

histidine is supplied by the claimed amount of L-histidine•HCl•H2O.

                       d.     L-Arginine•HCl

         76.   Claim 1 requires between 200-5000 mg/L of L-arginine•HCl. CGM contains

63.34 mg/L of L-arginine•HCl and CPM contains 73.27 mg/L of L-arginine•HCl.

         77.   In addition to L-arginine•HCl, CGM and CPM also contain L-arginine free base.

This ingredient provides the same active component (L-arginine) as L-arginine•HCl.

When both sources of L-arginine are considered, the total concentration of L-arginine in the

Celltrion Media is within the range achieved by claim 1 of the ’083 patent. A comparison of the

total molar amount of L-arginine supplied by L-arginine•HCl and L-arginine free base in the

Celltrion Media with the range of total amount supplied by the claimed ingredient (L-

arginine•HCl) is shown in Table 7 below.




                                                                                                 28
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 30
                                                                29 of 55
                                                                      54



Table 7. A Comparison of the Total Molar Amounts of L-Arginine Supplied by L-Arginine•HCl
                  and L-Arginine Free Base in Claim 1, CGM, and CPM

             ’083 Patent Claim 1                          CGM                      CPM

      Ingredient            Amount (per liter)     Amount (per liter)       Amount (per liter)

L-arginine•HCl             200-5000 mg            63.34 mg                 73.27 mg
(MW: 210.66                (0.949-23.735          (0.301 mmol)             (0.348 mmol)
mg/mmol)                   mmol)

L-arginine                 N/A                    161.04 mg                181.60 mg
(MW: 174.20                                       (0.924 mmol)             (1.042 mmol)
mg/mmol)

Total Arginine             0.949-23.735 mmol      1.225 mmol               1.390 mmol



       78.       As shown in Table 7, the total molar amounts of L-arginine supplied by L-

arginine•HCl and L-arginine free base in the Celltrion Media fall within the range of molar

amounts of L-arginine supplied by the claimed amount of L-arginine•HCl.

       79.       The function the L-arginine•HCl ingredient performs in the context of claim 1 is

to provide an amount of the amino acid L-arginine for the cells in culture, which they use to

make proteins. In my opinion, the differences in the concentration between the L-arginine•HCl

in the Celltrion Media and in claim 1 are insubstantial. Furthermore, L-arginine•HCl in the

amounts in the Celltrion Media performs substantially the same function in substantially the

same way as L-arginine•HCl in the claimed amount. This is because the ingredient in the

Celltrion Media is identical to the claimed ingredient, and the literal differences in concentration

are small; indeed there is no difference at all in the total concentration of L-arginine. I would

expect, subject to experimentation, that mammalian cells would perform similarly in the

Celltrion Media as in media in which the same total concentration of L-arginine was supplied by

an amount of L-arginine•HCl within the claimed concentration range.



                                                                                                    29
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 31
                                                                30 of 55
                                                                      54



       80.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of L-arginine•HCl in the Celltrion Media compared to

the claim are insubstantial, and that L-arginine•HCl in the amounts in the Celltrion Media

performs substantially the same (if not the identical) function in substantially the same (if not the

identical) way with substantially the same results as in media in which L-arginine is supplied by

the claimed amount of L-arginine•HCl.

                       e.      L-Asparagine•H2O

       81.     Claim 1 requires between 40-250 mg/L of L-asparagine•H2O. CGM contains

3.22 mg/L of L-asparagine•H2O and CPM contains 3.27 mg/L of L-asparagine•H2O.

       82.     In addition to L-asparagine•H2O, CGM and CPM also contain L-asparagine free

base. This ingredient provides the same active component (L-asparagine) as L-asparagine•H2O.

When both sources of L-asparagine are considered, the total amount of L-asparagine in the

Celltrion Media is within the range achieved by claim 1 of the ’083 patent. A comparison of the

total molar amount of L-asparagine supplied by L-asparagine•H2O and L-asparagine free base in

the Celltrion Media with the range of total amount supplied by the claimed ingredient (L-

asparagine•H2O) is shown in Table 8 below.

     Table 8. A Comparison of the Total Molar Amounts of L-Asparagine Supplied by L-
         Asparagine•H2O and L-Asparagine Free Base in Claim 1, CGM, and CPM

             ’083 Patent Claim 1                          CGM                       CPM

      Ingredient            Amount (per liter)     Amount (per liter)       Amount (per liter)

L-asparagine•H2O            40-250 mg             3.22 mg                  3.72 mg
(MW: 150.13                 (0.266-1.665 mmol)    (0.021 mmol)             (0.025 mmol)
mg/mmol)

L-asparagine                N/A                   167.61 mg                193.88 mg
(MW: 132.12                                       (1.269 mmol)             (1.467 mmol)
mg/mmol)



                                                                                                  30
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 32
                                                                31 of 55
                                                                      54



Total Asparagine           0.266-1.665 mmol        1.290 mmol              1.492 mmol



         83.   As shown in Table 8, the total molar amounts of L-asparagine supplied by L-

asparagine•H2O and L-asparagine free base in the Celltrion Media fall within the range of molar

amounts of L-asparagine supplied by the claimed amount of L-asparagine•H2O.

         84.   The function the L-asparagine•H2O ingredient performs in the context of claim 1

is to provide an amount of the amino acid L-arginine for the cells in culture, which they use to

make proteins. In my opinion, the differences in the concentration between the L-

asparagine•H2O in the Celltrion Media and in claim 1 are insubstantial. Furthermore, L-

asparagine•H2O in the amounts in the Celltrion Media performs substantially the same function

in substantially the same way as L-asparagine•H2O in the claimed amount. This is because the

ingredient in the Celltrion Media is identical to the claimed ingredient, and the literal differences

in concentration are small; indeed there is no difference at all in the total concentration of L-

asparagine. I would expect, subject to experimentation, that mammalian cells would perform

similarly in the Celltrion Media as in media in which the same total concentration of L-

asparagine was supplied by an amount of L-asparagine•H2O within the claimed concentration

range.

         85.   As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of L-asparagine•H2O in the Celltrion Media compared to

the claim are insubstantial, and that L-asparagine•H2O in the amounts in the Celltrion Media

performs substantially the same (if not the identical) function in substantially the same (if not the

identical) way with substantially the same results as media in which L-asparagine is supplied by

the claimed amount of L-asparagine•H2O.




                                                                                                    31
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 33
                                                                32 of 55
                                                                      54



               3.      Phosphate-Containing Ingredients

       86.     Claim 1 of the ’083 patent requires two phosphate salts: NaH2PO4•H2O (sodium

phosphate monobasic hydrate), and Na2HPO4 (anhydrous sodium phosphate dibasic). The

Celltrion Media contain both these salts, in precisely the salt/solvate form claimed.

       87.     The concentrations of the phosphate salts in the Celltrion Media are literally

outside the claimed phosphate concentration ranges. See Table 9. However, as discussed below,

they are insubstantially different from the claimed amounts of NaH2PO4•H2O and Na2HPO4.

         Table 9. Concentration of Phosphate Salts in Claim 1 and the Celltrion Media

             ’083 Patent Claim 1                       CMG                       CPM

     Ingredient             Amount (per liter)   Amount (per liter)       Amount (per liter)

NaH2PO4•H2O                 30-100 mg            227.17 mg             262.97 mg

Na2HPO4                     30-100 mg            374.15 mg             432.64 mg



                       a.       NaH2PO4•H2O

       88.     Claim 1 requires between 30-100 mg/L of NaH2PO4•H2O, while CGM contains

227.17 mg/L and CPM contains 262.97 mg/L.

       89.     The primary function the NaH2PO4•H2O ingredient performs in the context of

claim 1 is to provide an extracellular amount of the phosphate nutrient. Cells have a minimal

phosphate requirement to create high-energy molecules that they use to generate the energy

needed to grow, survive, and produce the proteins the cell is engineered to produce. Cells also

require phosphate as a building block of DNA, needed for new cellular DNA as the cells divide.

In my opinion, the differences in the concentration between the NaH2PO4•H2O in the Celltrion

Media and in claim 1 are insubstantial. Furthermore, NaH2PO4•H2O in the amounts in the

Celltrion Media performs substantially the same function in substantially the same way as


                                                                                                  32
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 34
                                                                33 of 55
                                                                      54



NaH2PO4•H2O in the claimed amount. This is because the ingredient in the Celltrion Media is

identical to the claimed ingredient, and the literal differences in concentration are small. I would

expect, subject to experimentation, that mammalian cells would perform similarly in the

Celltrion Media as in media that were otherwise identical but had NaH2PO4•H2O within the

claimed concentration range.

       90.     As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the NaH2PO4•H2O ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the NaH2PO4•H2O amounts in the Celltrion

Media perform substantially the same (if not the identical) function in substantially the same (if

not the identical) way with substantially the same result as the claimed amount of

NaH2PO4•H2O.

                       b.      Na2HPO4

       91.     Claim 1 requires between 30-100 mg/L of Na2HPO4, while CGM contains

374.15 mg/L and CPM contains 432.64 mg/L.

       92.     The primary function the Na2HPO4 ingredient performs in the context of claim 1

is to provide an extracellular amount of the phosphate nutrient. Again, cells have a minimal

phosphate requirement to create high-energy molecules that they use to generate the energy

needed to grow, survive, and produce the proteins the cell is engineered to produce. Cells also

require phosphate as a building block of DNA, needed for new cellular DNA as the cells divide.

In my opinion, the differences in the concentration between the Na2HPO4 in the Celltrion Media

and in claim 1 are not substantial. Furthermore, Na2HPO4 in the amounts in the Celltrion Media

performs substantially the same function in substantially the same way as Na2HPO4 in the

claimed amount. This is because the ingredient in the Celltrion Media is identical to the claimed

ingredient, and the literal differences in concentration are small. I would expect, subject to


                                                                                                  33
         Case 1:17-cv-11008-MLW Document 260-2
                                         221-3 Filed 05/10/18
                                                     04/03/18 Page 35
                                                                   34 of 55
                                                                         54



experimentation, that mammalian cells would perform similarly in the Celltrion Media as in

media that were otherwise identical but had Na2HPO4 within the claimed concentration range.

          93.      As discussed below, laboratory testing confirms this. The laboratory results

confirm that the differences in amounts of the Na2HPO4 ingredient in the Celltrion Media

compared to the claim are insubstantial, and that the Na2HPO4 amounts in the Celltrion Media

perform substantially the same (if not the identical) function in substantially the same (if not the

identical) way with substantially the same result as the claimed amount of Na2HPO4.

                   4.      Sodium Chloride

          94.      Claim 1 requires a concentration of NaCl (sodium chloride) between 5000-7500

mg/L. CGM literally meets this limitation. However, the concentration of NaCl in CPM is

about 10% below the claimed range, as shown in Table 10.

                  Table 10. Concentration of NaCl in Claim 1 and the Celltrion Media

                ’083 Patent Claim 1                           CGM                         CPM

Ingredient                     Amount (per             Amount (per liter)      Amount (per liter)
                               liter)

NaCl                            5000-7500 mg           5582.73 mg              4556.83 mg

          95.      The difference in NaCl concentration in CPM from the claimed range is

insubstantial. The function of the amount of NaCl in a medium is to make it approximately

isosmotic (having the same osmolality) with physiological fluids. Osmolality is a measure of the

number of particles dissolved in solution. Physiological osmolality, that is, the osmolality in

living systems, is about 300 mOsm/kg, plus or minus about 10%. Cell culture media are

typically maintained at an osmolality in the neighborhood of physiological. NaCl is a non-

nutritive ingredient that is used to balance the osmolality of the medium.8 One of ordinary skill

8
    Burgener et al., supra, at 52; R. Ian Freshney, Culture of Animal Cells, 106 (6th ed. 2010).


                                                                                                    34
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 36
                                                                35 of 55
                                                                      54



in the art would understand the salt concentration to be a fluid, adjustable variable to control

osmolality. In other words, there is typically an inverse relationship between the amount of

NaCl in a medium and the total amount of other ingredients. The more concentrated the

medium, the less NaCl is needed. The less concentrated the medium, the more NaCl is needed.9

        96.     Consistent with this understanding of the function of NaCl, it appears that the

reason the NaCl concentration is different in CGM and CPM is to maintain an appropriate

osmotic balance in each. CGM and CPM each contain the same set of ingredients that are

uniformly (other than NaCl) about 15% more concentrated in CPM than in CGM.

Concomitantly, the NaCl concentration in CPM is about 15% less than in CGM.

        97.     I would not expect the difference between the concentration of NaCl in CPM and

the claimed concentration of NaCl to affect the performance of mammalian cells in cell culture.

The laboratory results described below confirm that substantially the same results in cell culture

are observed whether NaCl is provided at the concentration of CPM or at the claimed

concentration, confirming that the amount of NaCl in CPM performs substantially the same

function in substantially the same way as the claimed amount of NaCl and that the literal

difference is insubstantial.

        C.      Laboratory Experiments Confirm Equivalence

        98.     As discussed above, the literal differences in concentration between the Celltrion

Media and Claim 1 are insubstantial. Laboratory experiments can test whether there is an actual

change in the performance of media embodying these differences in cell culture. For antibody-

producing cells such as those described in the ’083 patent and those that Celltrion uses in the

manufacture of its product, the amount of antibody produced (the titer) is a relevant measure by

9
 Jo et al., “Balanced Nutrient Fortification Enables High-Density Call Culture in Batch Culture,” Biotech.
Bioeng., 36, 717, 719 (1990).


                                                                                                       35
        Case 1:17-cv-11008-MLW Document 260-2
                                        221-3 Filed 05/10/18
                                                    04/03/18 Page 37
                                                                  36 of 55
                                                                        54



which to assess the performance of a medium. Related relevant measures are cell growth

characteristics, including viable cell density, maximum viable cell density, and viability over the

course of the culture. These are also the performance measures assessed in the examples of the

’083 patent.

         99.    The relative performance in cell culture of the Celltrion Media compared with

variant media in which the literal differences are eliminated also addresses whether an ingredient

at a different concentration or in a different form in the Celltrion Media yields substantially the

same result in cell culture as the same ingredient at the claimed concentration or in the claimed

form.

         100.   As discussed below, laboratory testing of the Celltrion Media performed by Drs.

Wurm and De Jesus confirms that these literal differences are insubstantial, and that the

ingredients at the concentration in the Celltrion Media perform substantially the same function in

substantially the same way to yield substantially the same result as the same ingredients in the

claimed concentration.

                1.     Experimental Method

         101.   Because equivalence under the doctrine of equivalents is assessed on an element-

by-element basis, the performance of each of the Celltrion Media in cell culture was compared to

the performance of variants each adjusted to reflect a single literal difference. The experiments

are described in detail in the Report of Dr. Florian Wurm and Dr. Maria De Jesus dated April 13,

2016 (“The Lab Report”), and I refer to that report for a description of the experimental

methodology.




                                                                                                    36
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 38
                                                                37 of 55
                                                                      54



                 2.     The CGM Experiments

       102.      The CGM experiments demonstrate that the literal differences between the

concentrations of certain ingredients in CGM and those claimed in claim 1 of the ’083 patent are

insubstantial.

                        a.     Viable Cell Density

       103.      Figure 1 below plots the viable cell density (VCD) against time for CGM, the

twelve element-by-element variants, the All Changes variant, and both negative controls.

    Figure 1: Comparison of viable cell density (VCD) as a function of time for C743B cells
                                  cultured in the test media




                                                                                                37
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 39
                                                                38 of 55
                                                                      54




       104.    The results shown in Figure 1 confirm that substantially the same VCD results

comparing CGM to each of the variants are obtained in cell culture. For each of these

conditions, the cultures showed vigorous growth from day 1 to day 3, a gradual tailing off of

VCD to day 5, and a substantial loss of VCD from day 5 to day 7. The maximum VCD

(VCDmax) measured for CGM was at day 3 (3.12±0.29 x 106 cells/mL). The variant with the

largest average VCDmax (day 3) was the NH4VO3 variant (3.45±0.18 x 106 cells/mL), and that

with the smallest average VCDmax (day 3) was the CuSO4•5H2O variant (2.74±0.19 x 106

cells/mL). Based on the small magnitude of these differences, I conclude the VCD over time

(the VCD curve) and the VCDmax for each of the variants are substantially similar to those

observed for CGM. If I were developing a medium, data with this degree of similarity would not

convince me to select any variant over CGM or vice versa. Rather, the similarities in the data

would lead me to conclude that the differences between each of the variants and CGM are




                                                                                                 38
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 40
                                                                39 of 55
                                                                      54



insubstantial. I believe that other scientists skilled in developing cell culture media would arrive

at the same conclusion.

       105.    In contrast, the VCD curves for the negative controls were substantially different

from CGM. In PBS Only, the VCD dropped to zero almost immediately. In 20% CGM, by

contrast, the VCD increased slightly over the first three days of culture, but the maximum VCD

was substantially lower than that observed in CGM (approximately four times smaller). The

observations in 20% CGM are particularly noteworthy because this medium contains all of the

same nutrients as in CGM, just in concentrations that for most ingredients are approximately five

times less than in CGM itself.

                       b.        Viability

       106.    Figure 2 below plots the viability (percentage of total cells that are viable) against

time for CGM, the twelve element-by-element variants, the All Changes variant, and the

negative controls.




                                                                                                   39
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 41
                                                                40 of 55
                                                                      54



              Figure 2: Comparison of viability as a function of time for C743B cells
                                   cultured in the test media




       107.     The results shown in Figure 2 confirm that substantially the same viability results

comparing CGM to each of the variants are obtained in cell culture. For each of these

conditions, cell viability remained in the range of >90% up to day 3, and began to decline


                                                                                                 40
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 42
                                                                41 of 55
                                                                      54



steadily from day 3 through day 7. Based on these data, I conclude that the percent viability over

time (viability curve) for each of the variants is substantially similar to that observed for CGM.

If I were developing a medium, data having this degree of similarity would not convince me to

select any variant over CGM or vice versa. Rather, the similarities in the data would lead me to

conclude that the differences between each of the variants and CGM are insubstantial. I believe

that other scientists skilled in developing cell culture media would arrive at the same conclusion.

       108.    In contrast, cells grown under either of the negative control conditions showed

substantial differences in cell viability as compared to cells grown in CGM. Specifically, cells

grown in 20% CGM showed decreased viability beginning at day 3 (below 90%), continuing

through day 5 to a low viability at day 7. Cells grown in PBS Only showed no viability after 1

day in culture. Again, the observations in 20% CGM are particularly noteworthy because this

medium contains all of the same nutrients as in CGM, just in concentrations that for most

ingredients are approximately five times less than in CGM itself.

                       c.     Antibody Titers

       109.    Figure 3 below plots the antibody production (also known as antibody “titers”)

against time for CGM, the twelve element-by-element variants, the All Changes variant, and the

negative controls.




                                                                                                   41
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 43
                                                                42 of 55
                                                                      54



              Figure 3: Comparison of antibody titers (mg/L) as a function of time for
                            C743B cells cultured in the test media.




       110.     The results shown in Figure 3 confirm that substantially the same antibody titer

results comparing CGM to each of the variants are obtained in cell culture. For each of the

conditions, antibody production gradually increased through the entire 7-day culture, achieving


                                                                                                   42
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 44
                                                                43 of 55
                                                                      54



maximum antibody titers in the range of 90 to 100 mg/L. Specifically, the maximum antibody

titer (titermax) measured in CGM (day 7) was 95.73±1.86 mg/L, compared to 90.07±4.64 mg/L

(day 7) for the CuSO4•5H2O variant (the lowest of the relevant variants) and 97.52±3.91 mg/L

(day 7) for the L-methionine variant (the highest).10 Based on these data, I conclude that the

titermax, as well as the titer over time (titer curve) for each of the variants is substantially similar

to that observed for CGM. If I were developing a medium, data having this degree of similarity

would not convince me to select any variant over CGM or vice versa. Rather, the similarities in

the data would lead me to conclude that the differences between each of the variants and CGM

are insubstantial. I believe that other scientists skilled in developing cell culture media would

arrive at the same conclusion.

        111.    In contrast, antibody titers were substantially reduced at all time points tested for

both negative controls, nearly zero for the PBS Only negative control and approximately four

times smaller than CGM for the 20% CGM negative control. Again, the 20% CGM results are

particularly noteworthy because this medium contains all of the same nutrients as in CGM, just

in concentrations that for most ingredients are approximately five times less than in CGM itself.

                        d.       CGM Experiments – Overall Conclusion

        112.    In my opinion, the CGM experiments confirm that the literal differences in

concentration between CGM and the media described by claim 1 are insubstantial. With respect

to VCD, viability, and antibody production, the data for CGM compared to each of the variants

are substantially similar. If I were developing a medium, these data would not compel me to

select any of the variants over CGM for further development or vice versa.




10
  Slightly and insubstantially lower (less than 10%) antibody titers were measured for the All Changes
variant at day 7 (86.79±0.68 mg/L).


                                                                                                         43
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 45
                                                                44 of 55
                                                                      54



       113.    In addition, these experimental results demonstrate that, for each of the literal

differences between CGM and the claim, those differences are insubstantial because the amounts

or form of the ingredient in CGM performs substantially the same function, in substantially the

same way, with substantially the same results, as the claimed amounts or forms of those

ingredients.

               3.     CPM Experiments

       114.    The CPM experiments similarly demonstrate that the literal differences between

the concentrations of certain ingredients in CPM and those claimed in claim 1 of the ’083 patent

are insubstantial.

                      a.      Viable Cell Density

       115.    Figure 4 below plots the viable cell density against time for CPM, the twelve

element-by-element variants, the All Changes variant, and both negative controls.

               Figure 4: Comparison of VCD as a function of time for C743B cells
                                  cultured in the test media




                                                                                                   44
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 46
                                                                45 of 55
                                                                      54




       116.    The results shown in Figure 4 confirm that substantially the same VCD results

comparing CPM to each of the variants are obtained in cell culture. For each of these conditions,

the cultures showed vigorous growth from day 1 to day 3, maintenance of VCD through day 5,

and a tailing off through the end of the culture at day 10. The VCDmax (day 3) measured for

CPM was 2.32±0.26 x 106 cells/mL, while the variant with the largest VCDmax (day 3) was the

L-Asparagine•H2O variant (2.64±0.12 x 106 cells/mL), and that with the smallest VCDmax (day

3) was the L-Histidine•HCl•H2O variant (2.21±0.19 x 106 cells/mL). Based on these data, I

conclude that the VCD over time (the VCD curve) and the VCDmax for each of the variants are

substantially similar to those observed for CPM. If I were developing a medium, these data

would not convince me to select any variant over CPM or vice versa. Rather, the similarities in

the data would lead me to conclude that the differences between each of the variants and CPM

are insubstantial. I believe that other scientists skilled in developing cell culture media would

arrive at the same conclusion.




                                                                                                    45
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 47
                                                                46 of 55
                                                                      54



       117.     In contrast, the average VCDs over time for the negative controls were

substantially different from CPM. In PBS Only, the VCD dropped to zero almost immediately.

In 20% CPM, by contrast, the VCD increased slightly over the first three days of culture, but the

VCDmax was substantially lower than that observed in CPM (approximately five times smaller).

The observations in 20% CPM are particularly noteworthy because this medium contains all of

the same nutrients as in CPM, just in concentrations that for most ingredients are approximately

five times less than in CPM itself.

                       b.      Viability

       118.     Figure 5 below plots the viability (percentage of total cells that are viable) against

time for CPM, the twelve element-by-element variants, the All Changes variant, and the negative

controls.

            Figure 5: Comparison of cell viability as a function of time for C743B cells
                                   cultured in the test media




                                                                                                    46
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 48
                                                                47 of 55
                                                                      54




       119.    The results shown in Figure 5 confirm that substantially the same viability results

comparing CPM to each of the variants are obtained in cell culture. For each of these conditions,

cell viability remained in the range of >90% up to day 3, and began to decline steadily from day

3 through day 10. Based on these data, I conclude the percent viability over time (viability

curve) for each of the variants is substantially similar to that observed for CPM. If I were

developing a medium, these data would not convince me to select any variant over CPM.

Rather, the similarities in the data would lead me to conclude that the differences between each

of the variants and CPM are insubstantial. I believe that other scientists skilled in developing

cell culture media would arrive at the same conclusion.

       120.    In contrast, cells grown under either of the negative control conditions showed

substantial differences in cell viability as compared to cells grown in CPM. Specifically, cells

grown in 20% CPM showed decreased viability beginning at day 3 (below 90%), which

continued through day 7; no living cells were observed at day 10. Cells grown in PBS Only




                                                                                                   47
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 49
                                                                48 of 55
                                                                      54



showed almost no viability at day 1, and no living cells were observed thereafter. Again, the

observations in 20% CPM are particularly noteworthy because this medium contains all of the

same nutrients as in CPM, just in concentrations that for most ingredients are approximately five

times less than in CPM itself.

                      c.         Antibody Titers

       121.    Figure 6 below plots the antibody titers against time for CPM, the twelve element-

by-element variants, the All Changes variant, and the negative controls.

      Figure 6: Comparison of antibody titers (mg/L) as a function of time for C743B cells
                                  cultured in the test media




                                                                                                48
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 50
                                                                49 of 55
                                                                      54




        122.    The results shown in Figure 6 confirm that substantially the same antibody titer

results comparing CPM to each of the variants are obtained in cell culture. For each of the

conditions, antibody production gradually increased to a maximum observed at day 7, with a

minor tailing off thereafter,11 with titermax in the range of 150 to 160 mg/L. Specifically, the

titermax measured in CPM (day 7) was 160.55±2.56 mg/L, while the largest titermax was

161.99±2.38 mg/L (day 7) for the NaCl variant and the smallest titermax was 147.80±0.78 for the

L-Asparagine•H2O variant (day 7). Based on these data, I conclude that the titermax, as well as

the titer over time (titer curve) for each of the variants is substantially similar to that observed for

CPM. If I were developing a medium, these data would not convince me to select any variant

over CPM or vice versa. Rather, the similarities in the data would lead me to conclude that the




11
  The reduction in antibody titers at day 10 is likely due to the instability of the antibody for extended
periods of time under culture conditions.


                                                                                                             49
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 51
                                                                50 of 55
                                                                      54



differences between each of the variants and CPM are insubstantial. I believe that other

scientists skilled in developing cell culture media would arrive at the same conclusion.

       123.    In contrast, the maximum antibody titers were nearly zero for the PBS Only

negative control and approximately four times smaller than CPM for the 20% CPM negative

control. Again, the 20% CPM results are particularly noteworthy because this medium contains

all of the same nutrients as in CPM, just in concentrations that for most ingredients are

approximately five times less than in CPM itself.

                       d.      CPM Experiments – Overall Conclusion

       124.    In my opinion, the CPM experiments confirm that the literal differences in

concentration between CPM and the media described by claim 1 are insubstantial. With respect

to VCD, viability, and antibody production, the data for CPM compared to each of the variants

are substantially similar. If I were developing a medium, these data would not compel me to

select any of the variants over CPM for further development or vice versa.

       125.    In addition, these experimental results demonstrate that, for each of the literal

differences between CPM and the claim, those differences are insubstantial because the amounts

or form of the ingredient in CPM performs substantially the same function, in substantially the

same way, with substantially the same results, as the claimed amounts or forms of those

ingredients.

               4.      Statistical Analysis

       126.    In my work in cell culture media, I use statistical analysis as a backup to check

the extent to which the results that can be directly observed graphically and through the use of

summary statistics are consistent with statistical testing. I performed statistical analyses on the

CGM and CPM experimental data. The results of these analyses are consistent with my opinion




                                                                                                      50
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 52
                                                                51 of 55
                                                                      54



that the experiments do not show any substantial differences between the Celltrion Media and

media that are altered to meet the limitations of claim 1.

        127.    I performed statistical analyses of the raw experimental data using a software

program called SigmaPlot. SigmaPlot is a statistical software tool I routinely use and rely upon

in my research to analyze raw cell culture data. SigmaPlot is one of the statistical packages that

others in the field use and similarly rely upon to analyze raw cell culture data. I use SigmaPlot

by inputting the raw data, and asking the software to determine whether there are any statistically

significant differences among the various groups of data (treatment groups). The software

analyzes the data and determines which statistical test or tests to apply given the data.

Printouts of the SigmaPlot outputs are attached hereto as Exhibit B. Although a large number of

statistical comparisons are generated by SigmaPlot given the number of treatment groups, I

understand that the relevant comparisons for purposes of the doctrine of equivalents are the

comparisons of the Celltrion Media with each of the element-by-element variants.

        128.    As detailed in Exhibit B, the SigmaPlot analyses showed no statistically

significant differences between the Celltrion Media and the tested variants for the vast majority

of the relevant experiments for both CGM and CPM. In particular, out of 72 relevant

comparisons tested on the CGM experiments, the analysis found only 2 statistically significant

results, and these were ambiguous, as the test that SigmaPlot initially used on the same data

identified no statistically significant differences. Out of 60 relevant comparisons tested on the

CPM experiments, SigmaPlot identified only 2 statistically significant results. Notably, both of

these results (as well as one of the 2 statistically significant results identified in the relevant

CGM experiments) were for the L-Asparagine•H2O variant. As discussed above (and further

detailed in the Lab Report), the L-Asparagine•H2O variant in each experiment had the same total




                                                                                                      51
      Case 1:17-cv-11008-MLW Document 260-2
                                      221-3 Filed 05/10/18
                                                  04/03/18 Page 53
                                                                52 of 55
                                                                      54



concentration of L-Asparagine as the corresponding Celltrion Media, with the only difference

being the amount of L-Asparagine that was supplied as free base and the amount supplied as L-

Asparagine•H2O. Given that both sources of L-Asparagine are dissolved in the final media, it is

highly unlikely that the observed differences are attributable to the different concentrations of the

two forms of L-Asparagine.

        129.    In my opinion, the statistical analyses confirm that the experimental data shows

no substantial differences between the Celltrion Media and the relevant variants. The analyses

identified no statistically significant differences among the vast majority of the relevant

endpoints. Given the large number of data points analyzed, and the nature of the variants where

the results were observed, I think it is unlikely that the very few statistically significant results

calculated by SigmaPlot reflect real differences in media performance attributable to the tested

variations. In any event, as discussed above, the magnitude of the differences are such that I do

not consider them substantial.

        D.      Overall Conclusions as to Claim 1

        130.    For the reasons discussed above, each and every element of claim 1 is met by both

CGM and CPM, either literally or under the doctrine of equivalents. As a result, I conclude that

CGM and CPM each infringe claim 1 of the ’083 patent under the doctrine of equivalents.

        E.      The Celltrion Media Infringe Claim 2 of the ’083 Patent

        131.    Claim 2 claims “the soluble composition of claim 1 further comprising [(a)] a

buffering molecule with a pKa between 5.9 and 7.8 and [(b)] a cell protectant.” As discussed

above, the Celltrion Media meet all the elements of claim 1 either literally or under the doctrine

of equivalents. The Celltrion Media meet both of the additional elements of claim 2.

        132.    Both Celltrion Media contain HEPES (4-(2-hydroxyethyl)-1-

piperazineethanesulfonic acid). HEPES is one of Good’s buffers, a zwitterionic sulfonic acid-


                                                                                                        52
         Case 1:17-cv-11008-MLW Document 260-2
                                         221-3 Filed 05/10/18
                                                     04/03/18 Page 54
                                                                   53 of 55
                                                                         54



containing buffering molecule.12 It has a pKa of about 7.5 at 20 ºC and about 7.3 at 37 ºC.

HEPES is thus a “buffering molecule with a pKa between 5.9 and 7.8” and therefore the Celltrion

Media literally meet element (a) of claim 2.

          133.    Second, the Celltrion Media both contain Poloxamer 188 (also known as

Pluronic-F68) and Tween 80, both of which are cell protectants. Both are non-ionic surfactants,

which the ’083 patent describes as examples of cell protectants. (Col. 7:14-15.) And, Pluronic-

F68 is a specifically recited as an example of a cell protectant. (Col. 7:15.) Accordingly, the

Celltrion Media literally meet element (b) of claim 2.

          134.    Because the additional elements of claim 2 are literally met, the Celltrion Media

infringe claim 2 under the doctrine of equivalents for the same reasons that they infringe claim 1.

VIII. Defense to Infringement Under the Doctrine of Equivalents – Ensnarement

          135.    I am informed that Defendants have notified Janssen that they may raise a defense

to infringement under the doctrine of equivalents known as “ensnarement.” The ensnarement

defense, I am informed, precludes a patentee from asserting a range of equivalents that would

encompass the prior art. I am informed that this is an affirmative defense that Defendants must

assert in the first instance. If Defendants submit evidence in support of their ensnarement

defense, I reserve the right to respond.

IX.       Materials Relied Upon

          136.    In reaching the conclusions stated in this report, I have relied upon my more than

35 years of knowledge of and experience with cell culture processes and cell culture media. In

addition to the materials cited in the body of this report, I have also considered the materials set

forth in Exhibit C.


12
     Good et al., “Hydrogen Ion Buffers and Biological Research,” Biochemistry, 5:2, 467-77 (1966).


                                                                                                      53
       Case 1:17-cv-11008-MLW Document 260-2
                                       221-3 Filed 05/10/18
                                                   04/03/18 Page 55
                                                                 54 of 55
                                                                       54



X.      Compensation

        137.   I am being compensated for my time at my usual rate of $350 per hour.

XI.            Other Cases in Which I Have Testified

        138.   I have not given testimony in any case.

XII.           Signature

               Dated: August 31, 2016




                                            _________________________________
                                            Professor Michael Butler, Ph.D.




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